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                 EXHIBIT B-141
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                                                                               FILED IN OFFICE



                  IN THE SUPERIOR COURT OF FULTON COUNT
                             STATE OF GEORGIA

 IN RE 2 MAY 2022 SPECIAL                      •

 PURPOSE GRAND JURY                            •      CASE NO. 2022-EX-000024



                                               •

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned hereby requests permission to use a recording device in Courtroom
of Judge Robert C.I. McBurney in order to [8]record images and/ or [8]sound
during all or portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s):    [8]computer of any size, including a
tablet, a notebook, and a laptop; [8]smart phone, a cell phone or other wireless
phone; [81 camera and other audio or video recording devices, [8]any similar
devices (Dejero live feed unit).

The proceedings that the undersigned desires to record commence on (date and
time) 8/29. Subject to direction from the court regarding possible pooled coverage,
the undersigned wishes to use this device in the courtroom on (date and time)
January 24, 2023 - 1200pm.

The personnel     who will be responsible          for the use of this recording device are:
(identify appropriate personnel or individual)WXIA-TV.




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For questions or concerns email pio@fultoncountyqa.gov
Rule 22 (Rev. 04/01/ 18)
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The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.
*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be submitted
24 business hours prior to the proceeding for which it is requested due to
mandatory notice requirements.

WXIA-TV
(News Agency/Media         Outlet/Law Firm/Individual       Representative)

news@l lalive.com
(Email Address)

404-881-3600
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               l:8JApproved


              The requesting agency:
                            be pool for its media
                      i:81Shall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom other
than, that for which permission is given. The undersigned understands        and
acknowledges that a violation of Rule 22 and any guidelines issued by the court
may be grounds for removal or exclusion from the courtroom and a willful
violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 23rd day of.:.J.:::an:..:_u::..:a::_ry,__
                                          ________                      2023



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             ___
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For questions or concerns email pio@fultoncountyqa.gov
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                     Judge of Superior Court of Fulton County
                              Atlanta Judicial Circuit




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Rule 22 (Rev. 04/01/ 18)
